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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

KELLIN JOHNS and JUAN BARRON,
individually and on behalf of all others similarly
situated,
                                                     Case No. 3:20-cv-00264-DWD
                         Plaintiff,
                                                     Hon. David W. Dugan
                   v.

PAYCOR, INC.,

                         Defendant.

   PAYCOR, INC’S MOTION FOR CONTINUED STAY UNDER COLORADO RIVER

        Defendant, Paycor, Inc. (“Paycor”), by its undersigned counsel, hereby moves this Court

to continue to stay all proceedings in this lawsuit pursuant to the Colorado River abstention

doctrine. Colorado River Water Conservation District v. United States, 424 U.S. 800 (1976). A

memorandum in support is being filed contemporaneously herewith.

Dated: September 29, 2023                      Respectfully submitted,

                                               PAYCOR, INC.

                                               By: /s/ Melissa A. Siebert
                                                       One of Its Attorneys

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                                CERTIFICATE OF SERVICE

        I, Melissa A. Siebert, an attorney, hereby certify that on September 29, 2023, I caused a

true and complete copy of the foregoing MOTION FOR CONTINUED STAY to be

electronically filed. Notice of this filing will be sent to all parties registered on this Court’s

CM/ECF system. Parties may access this filing through the Court’s system.



                                                      /s/ Melissa A. Siebert




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